      Case 4:19-cv-00059-CKJ Document 1 Filed 02/05/19 Page 1 of 11




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF ARIZONA
                             TUCSON DIVISION


JANE HELLER,

      Plaintiff,                           CASE NO.:

v.

NAVIENT SOLUTIONS, LLC,

      Defendant.
                                 /

              COMPLAINT AND DEMAND FOR JURY TRIAL

      COMES NOW, Plaintiff, JANE HELLER, by and through the undersigned

counsel, and sues Defendant, NAVIENT SOLUTIONS, LLC, (hereinafter “NSL”

or “Defendant”), and in support thereof respectfully alleges violations of the

Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                INTRODUCTION

       1.     The TCPA was enacted to prevent companies like Defendant,

NAVIENT SOLUTIONS, LLC, from invading American citizen’s privacy and to

prevent abusive “robo-calls.”

       2.     “The TCPA is designed to protect individual consumers from

receiving intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs.,

LLC, 132 S. Ct. 740 (2012).



                                       1
     Case 4:19-cv-00059-CKJ Document 1 Filed 02/05/19 Page 2 of 11




       3.         “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

*1256 scourge of modern civilization, they wake us up in the morning; they

interrupt our dinner at night; they force the sick and elderly out of bed; they hound

us until we want to rip the telephone out of the wall.’ 137 Cong. Rec. 30, 821

(1991).        Senator Hollings presumably intended to give telephone subscribers

another option: telling the autodialers to simply stop calling.” Osorio v. State

Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       4.         According to the Federal Communications Commission (FCC),

“Unwanted calls are far and away the biggest consumer complaint to the FCC with

over 200,000 complaints each year – around 60 percent of all the

complaints…Some private analyses estimate that U.S. consumers received

approximately 2.4 billion robocalls per month in 2016.” The FCC’s Push to

Combat Robocalls & Spoofing (Jan. 2, 2019), https://www.fcc.gov/about-fcc/fcc-

initiatives/fccs-push-combat-robocalls-spoofing.

                            JURISDICTION AND VENUE


          5.      This is an action for damages exceeding Seventy-Five Thousand

Dollars ($75,000.00) exclusive of attorney fees and costs.

          6.      Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action

involves violations of the TCPA.


                                             2
     Case 4:19-cv-00059-CKJ Document 1 Filed 02/05/19 Page 3 of 11




        7.    Subject matter jurisdiction, federal question jurisdiction, for

purposes of this action is appropriate and conferred by 28 U.S.C. § 1331, which

provides that the district courts shall have original jurisdiction of all civil actions

arising under the Constitution, laws, or treaties of the United States; and this

action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow

Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014).

       8.     The alleged violations described herein occurred in Pima County,

Arizona. Accordingly, venue is appropriate with this Court under 28 U.S.C.

§1391(b)(2), as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.

                           FACTUAL ALLEGATIONS

       9.     Plaintiff is a natural person, and citizen of the State of Arizona,

residing in Tucson, Pima County, Arizona.

       10.    Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank,

N.A., 755 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746

F.3d 1242 (11th Cir. 2014).

       11.    Defendant, NAVIENT SOLUTIONS, LLC, is a Delaware

corporation that conducts business in the State of Arizona through its registered




                                           3
      Case 4:19-cv-00059-CKJ Document 1 Filed 02/05/19 Page 4 of 11




agent, Corporation Service Company, located at 8825 N. 23rd Avenue, Suite 100,

Phoenix, Arizona 85021.

       12.    Plaintiff is the subscriber, regular user and carrier of the cellular

telephone number (702) ***-5438 and was the called party and recipient of

Defendant’s automated calls.

       13.    Defendant called Plaintiff approximately five hundred (500) times in

an attempt to collect on an alleged debt related to a private student loan.

       14.    Upon receipt of the calls from Defendant, Plaintiff’s caller ID

identified the calls were being initiated from, but not limited to, the following

phone number(s): (513) 914-4612 and (615) 432-4229; and when those numbers

are called, an automated message answers “Thank you for calling Navient. This

call may be monitored and/or recorded for quality purposes.”

       15.    Upon information and belief, some or all of the calls Defendant

made to Plaintiff’s cellular telephone number were made using an “automatic

telephone dialing system” which has the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator (including

but not limited to a predictive dialer) or an artificial or prerecorded voice; and to

dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer

calls”).




                                          4
     Case 4:19-cv-00059-CKJ Document 1 Filed 02/05/19 Page 5 of 11




      16.       Plaintiff will testify that she knew it was an autodialer because of the

vast number of calls she received and because she heard an extended pause and/or

click when she answered her phone before an agent/representative of Defendant

would come on the line.

      17.       Further, during a conversation with an agent/representative of

Defendant, Plaintiff expressed her frustrations to the agent/representative

regarding the repeated automated calls and was told by the agent that the agent

could not stop the calls as they were being made from an “automated system”.

      18.       Moreover, Plaintiff also received a substantial number of

prerecorded voice messages, as specified under the TCPA, 47 U.S.C. §

227(b)(1)(A).

      19.       On several occasions over the past approximately three (3) years,

Plaintiff instructed Defendant’s agent(s) to stop calling her aforementioned

cellular telephone number.

      20.       A few weeks after the automated calls from Defendant began, in or

about July of 2016, Plaintiff answered a call from Defendant, was met with an

extended pause, held the line, was eventually connected to an agent/representative

of Defendant, explained to the agent/representative that she was aware of her

obligations, the repeated automated calls were not necessary, and demanded that




                                            5
     Case 4:19-cv-00059-CKJ Document 1 Filed 02/05/19 Page 6 of 11




Defendant cease placing automated calls to her aforementioned cellular telephone

number and that Defendant take her number off their call list.

       21.    Each subsequent call the Defendant made to the Plaintiff’s

aforementioned cellular telephone number was done so without the “express

consent” of the Plaintiff.

       22.    Each subsequent call the Defendant made to the Plaintiff’s

aforementioned cellular telephone number was knowing and/or willful.

       23.    None of Defendant’s telephone calls placed to Plaintiff were for

“emergency purposes” as specified in 47 U.S.C. §227(b)(1)(A).

       24.    Defendant continued the campaign of abuse, calling the Plaintiff

despite the Plaintiff revoking any express consent the Defendant may have had to

call her aforementioned cellular telephone number on numerous occasions.

       25.    On at least ten (10) separate occasions, Plaintiff has either answered

a call from, or returned a call to, Defendant regarding her account, held the line to

be connected to a live representative, and demanded that Defendant cease placing

calls to her aforementioned cellular telephone number.

       26.    Each of the Plaintiff’s requests for the harassment to end were

ignored.

       27.    From about July of 2016, through the filing of this Complaint,

Defendant has placed approximately five hundred (500) actionable calls to



                                          6
     Case 4:19-cv-00059-CKJ Document 1 Filed 02/05/19 Page 7 of 11




Plaintiff’s aforementioned cellular telephone number (or as will be more

accurately determined upon a thorough examination of Plaintiff’s wireless records

and/or Defendant’s records).

       28.    Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do

not wish to be called.

       29.    Defendant has a corporate policy to harass and abuse individuals

despite actual knowledge the called parties do not wish to be called.

       30.    Defendant’s corporate policy provided no means for Plaintiff to have

Plaintiff’s number removed from Defendant’s call list.

       31.    Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

       32.    Defendant has numerous complaints against it across the country

asserting that its automatic telephone dialing system continues to call despite

being requested to stop.

       33.    Defendant has had numerous complaints against it from consumers

across the country asking to not be called; however, Defendant continues to call

these individuals.




                                          7
     Case 4:19-cv-00059-CKJ Document 1 Filed 02/05/19 Page 8 of 11




       34.    From each and every call placed without express consent by

Defendant to Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of

privacy and the intrusion upon her right of seclusion.

       35.    From each and every call without express consent placed by

Defendant to Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation

of her cellular telephone line and cellular phone by unwelcome calls, making the

phone unavailable for legitimate callers or outgoing calls while the phone was

ringing from Defendant’s call.

       36.    From each and every call placed without express consent by

Defendant to Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary

expenditure of her time. Plaintiff had to waste time to deal with missed call

notifications and call logs that reflect the unwanted calls. This also impaired the

usefulness of these features of Plaintiff’s cellular phone, which are designed to

inform the user of important missed communications.

       37.    Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to the

Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary

trouble of answering them. Even for unanswered calls, Plaintiff had to deal with

missed call notifications and call logs that reflected the unwanted calls. This also




                                         8
      Case 4:19-cv-00059-CKJ Document 1 Filed 02/05/19 Page 9 of 11




impaired the usefulness of these features of Plaintiff’s cellular phone, which are

designed to inform the user of important missed communications.

       38.     Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of

Plaintiff’s cell phone’s battery power.

       39.     Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel,

namely her cellular phone and her cellular phone services.

       40.     As a result of the calls described above, Plaintiff suffered an

invasion of privacy. Plaintiff was also affected in a personal and individualized

way by stress, anxiety, nervousness, embarrassment and aggravation.

       41.     Defendant violated the TCPA with respect to the Plaintiff.

       42.     Defendant willfully and/or knowingly violated the TCPA with

respect to the Plaintiff.

                                     COUNT I
                              (Violation of the TCPA)

       43.     Plaintiff fully incorporates and realleges paragraphs one (1) through

forty-two (42) as if fully set forth herein.

       44.     NAVIENT SOLUTIONS, LLC willfully violated the TCPA with

respect to Plaintiff, specifically for each of the auto-dialer calls made to Plaintiff’s




                                               9
     Case 4:19-cv-00059-CKJ Document 1 Filed 02/05/19 Page 10 of 11




cellular telephone after Plaintiff notified NAVIENT SOLUTIONS, LLC that

Plaintiff wished for the calls to stop

       45.    NAVIENT SOLUTIONS, LLC repeatedly placed non-emergency

telephone calls to Plaintiff’s cellular telephone using an automatic telephone

dialing system or prerecorded or artificial voice without Plaintiff’s prior express

consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

so triable and judgment against NAVIENT SOLUTIONS, LLC for statutory

damages, punitive damages, actual damages, treble damages, enjoinder from

further violations of these parts and any other such relief the court may deem just

and proper.



                                          Respectfully submitted,

                                          /s/ Richard J. Suzuki
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                                          and


                                         10
Case 4:19-cv-00059-CKJ Document 1 Filed 02/05/19 Page 11 of 11




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                              11
